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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
)
UNITED STATES OF AMERICA, )
)
Plaintiff ) Case No. 1:23-CR-00114
)
V. )
) District Judge Timothy S. Black
SAMUEL RANDAZZO ) Magistrate Judge Karen L. Litkovitz
)
Defendant )
)
)

DECLARATION OF DEFENDANT SAMUEL RANDAZZO IN SUPPORT OF
MOTION FOR INTRADISTRICT TRANSFER

I, Samuel Randazzo, hereby declare as follows under penalty of perjury pursuant to 28

U.S.C. § 1746:
1. I am the defendant in the above captioned matter.
2. This declaration is based upon my personal knowledge of the facts stated herein,

and I respectfully submit this declaration in support of my Motion for Intradistrict Transfer.
a I am 74-years old. I will be 75-years old in July of 2024

4. I reside in Columbus, Ohio with my wife of over forty years.

5. We live approximately two miles from the Joseph P. Kinneary Courthouse in
Columbus.
6. I have resided in Columbus for more than 50 years.

7. I graduated from the Capital University Law School in 1975, and began working in

Columbus when I entered law school. I spent my entire professional career based in Columbus.

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8. My support network of family and friends is primarily located in the Columbus
area.

9. I have no family or personal ties to Cincinnati.

10. —_[ live with several chronic health issues, including nerve damage in my left leg and,
sciatic nerve irritation which can be mitigated by spinal injections. This sciatic nerve irritation
causes tremendous pain, and the nerve irritation and associated pain are exacerbated by prolonged
sitting.

11. | My only income is from Social Security and retirement plan funds. As a result of
actions taken in civil proceedings pending in the Franklin County Court of Common Pleas, State
ex rel. Yost v. FirstEnergy Corporation, assets that were previously available to me are subject to
pre-judgment attachment orders or other encumbrances. I have been relying on these Social
Security payments and retirement plan funds to cover basic living expenses and to pay some of the
ongoing fees, costs and expenses incurred in certain civil actions.

12. Ihave retained Roger Sugarman to represent me in this matter alongside Andrew
DeVooght. Mr. Sugarman, a Columbus-based attorney, has also represented me in connection
with all related legal matters since shortly before the Government searched my home under a
search warrant on November 16, 2020.

13. I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED on this 8th day of February 2024

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Samuel Randazzo’

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